 

 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

 

UNITED STATES OF AMERICA,
Plaintiff, 2 |
Case No. 16-CR-f%5
v.
SAMY M. HAMZEH

Defendant.

 

ORDER

 

This matter is before the Court on the Defendant’s Third and Fourth Motions to Compel
and the Government’s response via a Classified Ex Parte, In Camera Memorandum of Law and
Motion Pursuant to Section 4 of the Classified Information Procedures Act and Rule 16(d)(1) of
the Federal Rules of Criminal Procedure (“Government’s Motion”). By its motion, the
Government requested that the Court, pursuant to CIPA § 4, Fed. R. Crim. P. 16(d)(1), and the
applicable law: (1) find that the classified information described in this motion need not be
disclosed by the Government (under any theory of discovery) and authorize the government to
delete it from discovery; and (2) order that the entire text of the Government’s motion and all
accompanying exhibits shall not be disclosed to the defense and shall be sealed and preserved in
the records of the Court to be made available for all future review of these proceedings.

The Court has carefully considered the Government’s discovery obligations, including

but not limited to its obligations pursuant to Federal Rule of Criminal Procedure 16 and Brady vy.

Case 2:16-cr-00021-PP-WED Filed 03/25/19 Page 1of3 Document 220

 
 

 

Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and their progeny.
Having carefully considered the Government’s discovery obligations and the Government’s
motion, its memorandum of law in support of the motion, and the Declarations filed therewith,
the Court GRANTS the Government’s Motions and DENIES the defendant’s Third and Fourth
Motions to Compel.

The Court finds that the Government’s CIPA Motion was properly filed ex parte, in
camera, for this Court’s review, pursuant to CIPA § 4 and Fed. R. Crim. P. 16(d)(1). The Court
has conducted an ex parte, in camera review of the Governments Motion and all attachments
therewith.

On the basis of the Court’s independent review of the information and the arguments set
forth in the Government’s Motion, the Court finds that the classified information referenced in
the Government’s Motion implicates the Government’s national security and classified
information privilege because the information is properly classified, and its disclosure could
cause serious damage to the national security of the United States.

Accordingly, IT IS ORDERED that the Government is authorized to withhold from
discovery to the defense the classified information outlined in the Government’s Motion.

IT IS FURTHER ORDERED that the Government’s Motion, including the
memorandum of law and all accompanying Declarations, shall not be disclosed to the defense,
and shall be sealed and maintained in a facility appropriate for the storage of such classified
information by the Court Security Officer as the designee of the Clerk of Court, in accordance

with established security procedures, for any future review, until further order of this Court.

Case 2:16-cr-00021-PP-WED Filed 03/25/19 Page 2 of 3 Document 220

 
 

 

 
   

IT IS SO ORDERED, this “7

  

WILLIAM E. DUFFIN. Y “
UNITED STATES MAGISTRATE JUDGE

 

Case 2:16-cr-00021-PP-WED Filed 03/25/19 Page 3 of 3 Document 220

 
